273 F.2d 178
    Mary Ellen Francis VERNON and husband, H. J. Vernon, Appellants,v.UNION OIL COMPANY of California, Appellee.
    No. 17502.
    United States Court of Appeals Fifth Circuit.
    Jan. 11, 1960.
    
      W. H. Brian, Amarillo, Tex., Albert Smith, Lubbock, Tex., for appellants.
      H. A. Berry, W. M. Sutton, Riley Strickland, Amarillo, Tex., for appellee.
      Before RIVES, Chief Judge, and CAMERON and JONES, Circuit Judges.
      PER CURIAM.
    
    
      1
      The petitions for rehearing in the above styled and numbered cause are hereby
    
    
      2
      Denied.
    
    
      3
      JONES, Circuit Judge (dissenting in part).
    
    
      4
      I would grant the appellees' petition for rehearing and deny the petition for rehearing of the appellants.
    
    